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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 ELIZABETH GONZALEZ,                              )
                                                  )
                                Plaintiff,        )
                                                  )
                       v.                         )    No. 20 C 2111
                                                  )
 CHARLOTTE A. BURROWS, Chair of the               )    Judge Kennelly
 U.S. Equal Employment Opportunity                )
 Commission,1                                     )
                                                  )
                                Defendant.        )

                                     JOINT STATUS REPORT

         Plaintiff Elizabeth Gonzalez, by her appointed pro se attorneys, Riley Safer Holmes &

Cancila LLP, and defendant Charlotte A. Burrows, Chair of the U.S. Equal Employment

Opportunity Commission, by John R. Lausch, Jr., United States Attorney for the Northern District

of Illinois, provide the following joint status report pursuant to the Court’s October 19, 2021

minute entry, Dkt. 57, as follows:

         1.     This employment discrimination case alleges that plaintiff Elizabeth Gonzalez, a

former probationary-period employee of the EEOC, was constructively terminated due to

disability discrimination.

         2.     Plaintiff has completed written discovery. She does not intend to serve additional

written discovery, has responded to all requests by Defendant, and will supplemental if/as required.

         3.     Defendant has responded to plaintiff’s written discovery and completed its first

production, USA-Gonzalez 1 - 3214. Defendant will provide its second production to respond to



   1
      Janet Dhillon is no longer the Chair of the United States Equal Employment Opportunity
Commission, and the current Chair is now Charlotte Burrows. By automatic operation of the
Federal Rule of Civil Procedure 25(d), the current chair is substituted in for the previous chair.
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plaintiff’s ESI requests in pdf format tomorrow, November 2, 2021, and the same production in

load file format by the end of this week. Due to the size of the production, the production has taken

multiple hours today to process (unanticipated by defendant) and is currently still processing,

causing a 1-day delay of defendant’s delivery to plaintiff. Defendant has served written discovery

and received plaintiff’s responses and corresponding production. Defendant will supplement as

needed.

       4.      Plaintiff served the eight additional subpoenas for medical records (see Dkt. 53) in

compliance with the Court’s October 9, 2021 order (Dt. 54).

       5.      The parties have met and conferred about the following depositions:

            Witness                     Requesting Party                        Status

 Plaintiff Gonzalez               Defendant                         Plaintiff is available for
                                                                    deposition on November 30
                                                                    or December 1, 2, or 3
                                                                    beginning at 10:00 a.m. at
                                                                    Riley Safer Holmes &
                                                                    Cancila LLP and/or by
                                                                    remote means.

 Tyron Irvin, EEOC employee       Plaintiff                         Defense counsel will produce
                                                                    Mr. Irvin for deposition on
                                                                    December 1 beginning at
                                                                    10:00 a.m. at the U.S.
                                                                    Attorney’s Office and/or by
                                                                    remote means.

 Julianne Bowman, EEOC            Plaintiff                         Defense counsel will produce
 employee                                                           Ms. Bowman for deposition
                                                                    on December 3 beginning at
                                                                    10:00 a.m. at the U.S.
                                                                    Attorney’s Office and/or by
                                                                    remote means.

 Patricia Jaramillo, EEOC         Plaintiff                         Defense counsel will produce
 employee                                                           Ms. Jaramillo for deposition
                                                                    on December 2 beginning at
                                                                    10:00 a.m. at the U.S.
                                                 2
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                                                       Attorney’s Office and/or by
                                                       remote means.

EEOC 30(b)(6)                      Plaintiff           Plaintiff sent a 30(b)(6)
                                                       Notice of Deposition to
                                                       defendant on November 1,
                                                       2021. Defense counsel will
                                                       work with the agency to
                                                       identify its 30(b)(6) witness
                                                       and provide plaintiff’s
                                                       counsel with available dates
                                                       prior to the close of fact
                                                       discovery.
Jose Romo, EEOC                    Plaintiff           Plaintiff’s counsel will
employee/Union                                         subpoena this witness for
representative                                         deposition on November 30,
                                                       2021.
Kimberley Engram, EEOC             Plaintiff           Plaintiff’s counsel will
employee/Union                                         subpoena this witness for
representative                                         deposition on November 30,
                                                       2021.
Omar Guzman, LCSW                  Defendant           Defense counsel will
                                                       subpoena this witness for
                                                       deposition on November 29,
                                                       2021.
Deana Gaston, LCSW,                Defendant           Defense counsel will
Psychotherapist                                        subpoena this witness for
                                                       deposition on November 29,
                                                       2021.
Lois Kenyon-Severson               Defendant           Defense counsel will
Employee Assistance and                                subpoena this witness for
Work/Life Programs                                     deposition on November 29,
                                                       2021.
Individuals who lived with    Defendant                Defendant will subpoena
plaintiff during the relevant                          these witnesses for deposition
time period (Dec 2014 to Nov                           after they have been
2015) who have not yet been                            identified at plaintiff’s
identified but will be at                              deposition.
plaintiff’s deposition

Plaintiff’s treating physicians    Defendant           Defendant will subpoena
identified after receiving                             relevant treating physicians
plaintiff’s medical records.                           after defense counsel has
Plaintiff identified 14 treating                       received the subpoenaed
physicians in her initial                              medical records. Defense
disclosures. It is highly                              counsel has not yet received
                                               3
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 unlikely that defense counsel                              any medical records.
 will need to depose all 14 but
 cannot determine who to
 depose until defense counsel
 can review plaintiff’s medical
 records. Defense counsel has
 not yet received plaintiff’s
 medical records.


                                             Respectfully submitted,



                                             JOHN R. LAUSCH, Jr.
                                             United States Attorney

 By: /s Matthew E. Lee                       By: /s Valerie R. Raedy
   Brian O. Watson                              VALERIE R. RAEDY
   Matthew E. Lee                               Assistant United States Attorney
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